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                      IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

In re:                                            §
                                                  §          Case No. 22-60043
FREE SPEECH SYSTEMS, LLC,                         §
                                                  §
                                DEBTOR.           §         Chapter 11 (Subchapter V)
                                                  §

                                 WITNESS AND EXHIBIT LIST

 Judge:                       Hon. Christopher M. Lopez
 Hearing Date:                Friday, January 20, 2023
 Hearing Time:                10:00 a.m. (Central Standard Time)
 Party’s Name:                Shannon & Lee LLP
 Attorney’s Name:             R. J. Shannon; Kyung S. Lee
 Attorney’s Phone:            (713) 714-5770
 Nature of Proceeding:        Hearing on:
                                  Shannon & Lee LLP’s Motion pursuant to Rule 59 of the
                                     Federal Rules of Civil Procedure for Rehearing on the Issue of
                                     Disinterestedness with Respect to the Debtor’s Application to
                                     Employ Shannon & Lee LLP (the “S&L Motion for
                                     Rehearing”).

         Shannon & Lee LLP (“S&L”), the movant in the S&L Motion for Rehearing, hereby

submits this supplemental exhibit list in connection with the hearing to be held on Wednesday,

January 20, 2022, at 1:00 p.m. (Central Standard Time) (the “Hearing”) on the S&L Motion for

Rehearing.

                                           WITNESSES

         S&L may call any of the following witnesses at the Hearing, whether in person or by

proffer:

         1.   R. J. Shannon;
         2.   Kyung S. Lee;
         3.   W. Marc Schwartz;
         4.   Any witness called or designated by any other party; and
         5.   Any witnesses necessary to rebut the testimony of any witnesses called or designated
              by any other party.
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                                               EXHIBITS

           S&L may offer for admission into evidence any of the following exhibits, and any exhibit

    designated by any other party, at the Hearing:

                                                                                 Admitted/
Ex.                     Description                        Offered   Objection     Not       Disposition
                                                                                 Admitted

1      S&L Employment Application [ECF Nos. 85,
       163-1, 163-2, 163-3, & 163-4]

2      U.S. Trustee’s Amended Objection to S&L
       Employment Application [ECF No. 154]

3      Transcript of September 13, 2022, Hearing
       [ECF No. 179]

4      Joinder by the Sandy Hook Plaintiffs [ECF No.
       159]

5      Reply to the U.S. Trustee’s Objection to S&L
       Employment Application [ECF No. 166]

6      Transcript of September 20, 2022, Hearing
       [ECF No. 194]

7      Transcript of May 19, 2022, Hearing in IW
       Cases [ECF Nos. 163-22, 165-14]

8      Omnibus Response in IW Cases [ECF No. 165-
       7]

9      August 3, 2022, Hearing Transcript [ECF Nos.
       63, 165-15]

10     S&L June 2022 Time Records re Prepetition
       Services to the Debtor [ECF No. 163-7]

11     Forbearance Agreement dated July 10, 2022
       [ECF No. 26-8]

12     Debtor’s Schedules [ECF Nos. 121, 165-1]




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                                                                                  Admitted/
Ex.                    Description                          Offered   Objection     Not       Disposition
                                                                                  Admitted

13    August 16, 2022, Email from R. Shannon to S.
      Jordan responding to AEJ Request for FSS to
      Seek Stay of Remand Order and Extension of
      Automatic Stay to AEJ

14    August 16, 2022, Email from S. Jordan to R.
      Battaglia and K. Lee responding to FSS
      Response to AEJ Request for FSS to Seek Stay
      of Remand Order and Extension of Automatic
      Stay to AEJ

15    August 17, 2022, Email from S. Jordan to R.
      Shannon re FSS Plans if AEJ Unable to
      Conduct Show for FSS

16    August 19-22, 2022, Emails among K. Lee and
      S. Jordan re AEJ’s Payment of Legal Expenses
      re Special Counsel

17    S&L Fee Statement and Time Records re
      Services Provided to the Debtor from the
      Petition Date through September 20, 2022

18    Schwartz Affidavit re Management Agreement
      in Connecticut Litigation

19    Roddy Affidavit re Google Analytics
      Documents re Management Agreement in
      Connecticut Litigation

20    Order of Travis County District Court finding
      Alter Ego with respect to the Heslin/Lewis Suit

21    Transcript of August 2, 2022, Hearing before
      Connecticut Superior Court

22    August 8, 2022, Email from R. Shannon to J.
      Martin re PQPR insider status and avoidance of
      PQPR lien

23    June 30, 2022, Email from R. Shannon re PQPR
      P&L Statements




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                                                                                Admitted/
Ex.                    Description                        Offered   Objection     Not       Disposition
                                                                                Admitted

24    May 11, 2022, Email from R. Shannon to M.
      Beatty and A. Moshenberg re Expediting
      Dismissal of Claims against IW Debtors and
      Attendant Remand of Removed Litigation

25    May 11, 2022, Email from R. Shannon to R.
      Chapple and R. Williams re Expediting
      Dismissal of Claims against IW Debtors and
      Attendant Remand of Removed Litigation

26    Declaration of R. Shannon re Testimony and
      Additional Documents S&L will seek to
      Introduce at Rehearing or in Connection with
      Administrative Expense Motion

27    Presentation for January 20, 2023, Hearing on
      Shannon & Lee LLP’s Rule 59 Motion


         S&L reserves the right to supplement, amend or delete any witness and exhibits prior to

  the Hearing. The S&L also reserves the right to ask the Court to take judicial notice of any

  document. S&L finally reserves the right to introduce exhibits previously admitted.

                             [Remainder of Page Intentionally Left Blank]




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Dated: January 18, 2023             SHANNON & LEE LLP


                                    /s/ R. J. Shannon
                                    Kyung S. Lee
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                                    R. J. Shannon
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